         Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 1 of 14




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                        )
IN RE PHARMACEUTICAL INDUSTRY
                                                        )   MDL NO. 1456
AVERAGE WHOLESALE PRICE
                                                        )   Civil Action No. 01-12257-PBS
LITIGATION
                                                        )   Subcategory Case No. 03-10643
                                                        )
THIS DOCUMENT RELATES TO:
                                                        )   Judge Patti B. Saris
                                                        )
     The City of New York, et al.
                                                        )   Magistrate Judge Bowler
v.                                                      )
     Abbott Laboratories, et al.                        )
                                                        )


  PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION TO
        COMPEL DISCOVERY FROM DEFENDANT MERCK & CO., INC.

                                       INTRODUCTION

         Merck’s continued refusal to produce discovery on at-issue drugs with alleged spreads of

greater than 30% is baseless and obstructive. Both CMO #33, which Merck and all other

defendants presented to this Court by way of a Joint Motion [Dkt. No. 4690], and the Court’s

September 28, 2008 Order [Dkt. No. 5605] (attached as “A” hereto) establish unequivocally that

plaintiffs are entitled to discovery on drugs with alleged spreads greater than 30%.    Plaintiffs

have demonstrated their entitlement to discovery on these drugs by setting forth over-30%

spreads using the two methods approved by this Court. One is through the use of wholesaler

data; the second through the use of Merck’s AMPs. See Revised Exhibit B-24 to Plaintiffs’ First

Amended Consolidated Complaint (“Rev. Exhibit B to the FACC”) [Dkt. No. 4754]; and Exhibit

A to the Declaration of Harris L. Devor in Support of Plaintiffs’ Motion to Compel Discovery

from Defendant Merck & Co., Inc. (hereinafter referred to as “Devor Decl. Exh. A”) [Dkt. No.

6489, Sub-dkt. No. 160].       Indeed, using Merck’s own AMPs, plaintiffs have, through their
           Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 2 of 14




expert Harris Devor, presented annual over-30% spreads for the Merck drugs/NDCs on which

discovery is sought.

           Notwithstanding this, Merck refuses to produce data and documents essential to

establishing what Merck’s real prices are and to presenting this Court with a full and accurate

record so that the extent of Merck’s’ liability for the claims asserted can be established once and

for all. Merck simply refuses to accept that plaintiffs have now twice demonstrated, first through

the use of wholesaler data and second through the use of Mercks’ own AMPs, that there are

Merck Drugs and NDCs at issue in this case with spreads that satisfy the 30% discovery screen.

Merck’s opposition rests on unsupported, fact-intensive and misleading arguments that merely

reinforce why discovery is appropriate and must be had. We address each in turn.

                                                 ARGUMENT

      I. This Court Has Ruled That “Plaintiffs may conduct discovery on any branded
            drugs that have an AWP to AMP spread of over 30% for the year”1

           In an effort to distract from the simplicity of the issue before this Court, Merck says that

plaintiffs are engaging in “mathematical gymnastics”, employing the “device” of AMP to allege

spreads and “move the goal post” as to when discovery should be produced. Defendant Merck &

Co., Inc.’s Opposition to Plaintiffs’ Motion to Compel (“Merck Opp.”) at 12 [Dkt. No. 6572,

Sub-dkt. No.168]. No gymnastics are involved. There is no “device” and no “goal posts” have

been moved. This Court expressly has ruled that plaintiffs are entitled to discovery where the

AMP/AWP spread is greater than 30% on an annual basis. September 22, 2008 Order [Dkt. No.

5605] (“A” hereto). That Order provides, plain and simple, that “Plaintiffs may conduct

discovery on any branded drugs that have an AWP to AMP spread of over 30% for the

year” Id.. Plaintiffs are merely seeking compliance, by Merck, with that order.


1
    September 22, 2008 Order [Docket No. 5605] (“A” hereto).

                                                        2
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 3 of 14




       Merck acknowledges that AMP may provide a “useful conservative check on plaintiffs’

use of wholesaler data”. Merck Opp. at 2, ¶ 2 [Dkt. No. 6572, Sub-dkt. No. 168]. There is no

dispute. Plaintiffs here seek only production of discovery on those Merck drugs at issue where

the AMP/AWP spreads are in excess of 30% on an annual basis, regardless what the spreads

were in Exhibit B to plaintiffs’ complaint. What then is the basis for Merck’s resistance?

       Merck argues that, for certain drugs, the AMP/AWP spreads are lower than the

AAC/AWP spreads set forth in plaintiffs’ complaint. See Merck Opp. at 17-18. Agreed and so

what. The issue before the Court is a binary one directed only to the scope of discovery. This is

not a damages or even liability assessment. This is a discovery issue. This Court has ruled that if

the alleged spread, based on wholesaler data or AMP data, is over 30%, plaintiffs get discovery.

See CMO #33, ¶ 7 [Dkt. No. 4745]. If below 30%, no discovery. Id.            It is that simple.   It

matters not, at this stage, if the spread is 1000% or 45% or 31%. Pursuant to the orders of this

Court, including CMO #33 that Merck itself subscribed to and requested entry of, once the

alleged spread is over 30%, plaintiffs are entitled to discovery.        Only through discovery,

including the production of sales and transactional data, can Merck’s actual prices be

determined. Thereafter, on a full record, liability, if any, can be established and damages, if any,

can be calculated.

       Merck argues that some of the drugs for which plaintiffs are entitled to discovery have

relatively low utilization. See, e.g., Merck Opp at 6. The argument reveals Merck’s utter

insensitivity to the impact of drug costs on the County Medicaid Programs which spent, in fact,

over $306 million on these “not worth it” products for the years identified in Exh. A to the Devor

Decl. See Exh. A to Devor Decl. [Dkt. No. 6489, Sub-dkt. No. 160].           Moreover, neither the




                                                 3
         Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 4 of 14




Jointly-Proposed CMO #33 nor the September 2008 order provide that plaintiffs are only entitled

to discovery when some expenditure threshold is satisfied.

         Merck disregards that the September 2008 Order expressly provides that plaintiffs are

entitled to discovery when AMP/AWP spreads exceed 30% “for the year” (see September 2008

Order). In what must be an effort to mislead, Merck instead has its expert instead present a chart

demonstrating the “overall” (i.e. 1997-2005 en toto) spreads. See Affidavit of Eric M. Gaier,

Ph.D., sworn to October 5, 2009 at Figure 3 (“Gaier Aff”)(attached as Exhibit 7 to the

Declaration of Robert Funkhouser [Dkt.No. 6574-8].             There is no requirement anywhere, nor

does Merck cite one, that plaintiffs are only entitled to discovery when spreads exceed 30% for

the entire 1997-2005 time period. The September 2008 Order (“A” hereto) requires spreads over

30% “for the year” and, indeed, Judge Saris therein even noted that “it may be better to have

quarterly calculations”. Id. (emphasis added).

         Further misleading the Court in Gaier Affidavit Figure 3, Merck purposefully omits

inclusion of Pepcid and Zocor, Why? The County Medicaid Programs spent over $271 million

on Zocor and $64 million on Pepcid in the years for which plaintiffs show annual AMP/AWP

spreads greater than 30%. See Exh. A to Devor Decl. [Dkt. No. 6489, Sub-dkt. No. 160]. Under

both CMO #33 and the September 2008 order, plaintiffs are entitled to discovery on these drugs.

Even when spreads for these two drugs are considered in the aggregate (i.e. for all of 1997-

2005), they exceed 30%. See Gaier Aff. Exh. B2 Of course, Merck’s opposition is silent on that

point.



2
 For example, Attachment B shows the following: Pepcid 10mg/ml vial (NDC 00006353904) (48.1% overall
Devor spread), Pepcid 10mg/ml vial (NDC 00006354114) (37.5% overall Devor spread), Pepcid 10mg/ml vial
(NDC 00006354120) (38.9% overall Devor spread), Pepcid 10mg/ml vial (NDC 00006354149) (37.9% overall
Devor spread), Zocor 10mg tablet (NDC 00006073531) (35.5% overall Devor spread), Zocor 5mg tablet (NDC
00006072631) (35.9% overall Devor spread), Zocor 5mg tablet (NDC 00006072654) (35.4% overall Devor spread),
Zocor 5mg tablet (NDC 00006072682) (35.9% overall Devor spread).

                                                     4
        Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 5 of 14




        Merck also appears to be arguing the 30% discovery screen set forth in the jointly

proposed CMO #33 and the September 2008 order is, in fact, 35%. Merck Opp. at 8 and 18

[Dkt. No. 6572, Sub-dkt. No. 168]. Obviously, there is no support for this. 30% means 30% and

even a marginal spread over that expectation (on an annual basis) translates into discovery and,

potentially, millions of dollars of unnecessary reimbursement. Merck may not be sensitive to

this but Medicaid Payors, who foot the bills, certainly are.

    II. Discovery is Needed to Determine What Merck’s True Prices are and What Its
           AMPs Actually Represent


    Merck argues that its AMPs cannot be used to satisfy the 30% spread discovery screen

because “AMP is derived from manufacturers’ sales to wholesalers and necessarily will be less

than average or typical prices paid by providers where they acquire drugs from wholesalers,

typically by at least 3 to 5%.” Merck Opp. at p. 2, ¶ 2 [Dkt. No. 6572, Sub-dkt. No. 168].

Setting aside that Merck is rejecting the use of AMP where its fellow brand defendant Schering

(and the Court) accepted, Merck’s argument is so flawed as to be utterly meaningless.

        First, Merck ignores that when the Court endorsed an AMP/AWP spread over 30% as a

“reasonable good faith” basis for discovery, the Court was not making an ultimate finding of

liability based on AMP or taking the position that AMP was the same as provider cost. Rather,

the Court was designing a reasonable and good faith methodology for determining which drugs

should be examined through discovery and which should not. See also Point III, infra. Only

through the production of sales and transactional data will Merck’s true provider costs be known

and liability, if any, established.




                                                 5
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 6 of 14




       Second, Merck’s statement is made with no record support whatsoever and therefore

cannot be used as a basis to excuse non-compliance with an unequivocal court order and jointly-

proposed CMO #33 or to alter the terms of either.

         Third, the argument ignores that Merck’s AMPs may indeed include Merck’s direct

sales prices to providers, that such direct sales are typically at prices lower than sales to

wholesalers and that such sales would likely have no mark-up associated with them. It also

ignores that direct sales to relevant customers may nevertheless pass through the wholesalers for

billing purposes. Consider, for example, the following exchange with McKesson 30(b)(6)

witness Leslie Morgan concerning direct sales from Merck to Costco:

                       Q. Okay. And if you look at B, it says,
               "Direct vendors," and it states, "Designated
               direct vendors will be at cost minus five percent
               markup, including Merck, Upjohn, Wyeth-Ayerst."
               What is your understanding of what is meant
               there?
                       A. I believe that -- that would be
               contract purchases that Costco made from Merck,
               Upjohn and Wyeth. It would be the pricing
               associated with that.
                       Q. So that would be a direct purchase from
               Costco from those particular manufacturers?
                       A. Yeah. I guess that means -- in my
               world, that would be a drop ship.
                       Q. A drop ship. And what is a drop ship?
                       A. A drop ship is a purchase that in this
               case, a customer would get directly from the
               vendor, but the billing would run through
               McKesson.

Deposition of Leslie Morgan (McKesson Corp.) (“Morgan Depo.”) dated September 3, 2008 at

121:8-122:4 (attached as Exhibit A to the Declaration Joanne M. Cicala, dated October 23, 2009)

(“Cicala Dec.”). Does Merck include such direct sales in its AMPs? Only discovery will tell us.

More to the point for liability purposes, even if Merck does not include direct sale prices in its



                                                6
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 7 of 14




AMPs, what is Merck’s true price to large direct customers, such as Costco, and how do those

prices compare to the AWP Merck publishes?

       Fourth, Merck’s argument ignores the fact that manufacturers knowingly make sales

through wholesalers where all discounts, rebates, prompt pay discounts and sometimes a portion

of the prompt pay dating to the wholesaler are passed on to the end purchaser. Consider the

following exchange with McKesson 30(b)(6) witness Leslie Morgan concerning sales to Wal-

Mart’s warehouse:

                       Q. [] Now, if you could turn to page 0538,
               part two, service to individual warehouses, do
               you have an understanding -- if you look in the
               cost-of-goods sections, the last sentence says,
               "The effective cost to Wal-Mart is net net plus
               zero," do you have an understanding of what net
               net plus zero is?
                       A. My understanding of that statement
               would be Wal-Mart warehouse would receive cost
               minus any allowances that would be provided by
               the manufacturers as well as promotional moneys
               as well as cash discounts. And that would pretty
               much work out to cost plus zero.
                       Q. So in this situation, Wal-Mart is
               receiving McKesson's acquisition cost?
                       A. Yes. That's a good way of putting it.
                       Q. And to the extent there are promotions
               and discounts and rebates, that would be less
               than WAC?
                       A. Yes.
                       Q. And in fact in this situation, they're
                       also receiving the prompt-pay discount?
                       A. Yes.

Morgan Depo. at 157:14-158:14 (Cicala Dec. Exh. A). Does Merck sell to Wal-Mart and other

large customers at “net net plus zero”? Are such sales included in Merck’s calculation of AMP?

More to the point for purposes of liability, what is Merck’s true sales price in such contexts and

how does that relate to the AWP Merck publishes? Only discovery will tell us.



                                                7
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 8 of 14




       Related is the issue of brokerage sales and the impact of same on Merck’s calculation of

AMP and, for liability purposes, Merck’s net prices. Consider, for example, the following

exchange with Cardinal Health 30(b)(6) witness Neil Warren concerning “Brokerage” sales

through Cardinal to chain customers like Eckerd:

                        Q. Okay. If you could turn to the next
              page, 3964, and it states, under scenario No. 3,
              and in the box it states, "Cost of goods net,
              net, no upcharge, payment 20 days from vendor
              invoice date." What does that mean?
                        A. This is a -- it -- it's -- it's related
              to brokerage. It's another business model that
              we have for our chain businesses where we are
              actually a broker for our manufacturers, and the
              product just flows from either the manufacturer
              directly to the account, or goes through our
              system we call Cross Dock. We don't touch it.
              It turns around, spins right back out.
                        So in a brokerage environment, what we
              pay is what that customer also pays. But we're
              in a little box with payment 20 days. I get --
              my average is 30 days payable, they're paying me
              in 20, so I have 10 days float.
                        Q. 10 days float. And that's the --
              that's how Cardinal would make money on that
              transaction is --
                        A. Through the brokerage environment?
                        Q. -- through the brokerage environment.

Deposition of Neil Warren (Cardinal Health) dated September 9, 2008 (“Warren 9/9/08 Depo.”)

at 162:3-163:3 (attached as Exhibit B to the Cicala Dec); See also id. at 180:9-181:8, 184:8-

185:20 (testifying that Cardinal only got four (4) days float on Walgreens brokerage sales). Does

Merck engage in this practice? And if so, are brokerage sales to retailers included in the Merck

AMP? And, for liability purposes, what are those brokerage prices and how do they relate to the

AWPs Merck published? Only discovery will tell us.




                                                8
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 9 of 14




       Fifth, Merck ignores that in the context of AMP, the Medicaid Rebate Agreement defines

“wholesaler” as “any entity (including a pharmacy or chain of pharmacies) to which the labeler

[manufacturer] sells the Covered Outpatient Drug, but that does not relabel or repackage the

Covered Outpatient Drug.” see p. 11 to Exhibit 7 to the Declaration of Robert Funkhouser citing

Medicaid Rebate Agreement section I(ee) [Dkt.No. 6574]. In other words, a “wholesaler”

includes entities such as Costco and Eckerd (referenced in the deposition excerpts cited above)

who purchase drugs directly from Merck and AMP is defined in manner that would permit

Merck to include such direct sales in its calculation. Such direct sales to chain warehouses also

may not result in a markup because there is no “middleman.” But neither this nor Merck’s true

prices to such entities, nor how those true prices relate to Merck’s published AWPs, can be

known without discovery.

       Sixth, what types of “providers” is Merck even referring to? Elsewhere in its opposition

Merck makes the incorrect statement that the only relevant providers in this case are retail

pharmacies. See Merck Opp. at 1, 13-14 [Dkt. No. 6572, Sub-dkt. No. 168].        But Merck knows

–because it has the claims data- that NY Medicaid reimburses all providers of pharmacy and that

means not only classic retail pharmacies but also LTC facilities, nursing homes, hospital

outpatient pharmacies, clinics and others engaged in the practice of pharmacy.

       Further confirming why discovery is needed, Merck tucks in a footnote that its AMPs

‘may include rebates to entities that are not reimbursed by Medicaid.” May include? Does

Merck not know if its AMPs include rebates to entities reimbursed by NY Medicaid? It knows

what entities New York Medicaid reimbursed. That is contained within the NY claims data

provided to defendants nearly one year ago (NYCO AWP 37223). Presumably, Merck also

knows to whom it pays rebates.      Regardless, Merck’s phrasing makes plaintiffs’ point: the



                                               9
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 10 of 14




question of what Merck does or does not include in its AMPs and to whom Merck pays rebates

and how those rebates impact Merck’s net prices are all among the reasons discovery is required.

        III.    Merck’s Criticisms of Mr. Devor Make No Sense and Fail Entirely

        Merck argues that Mr. Devor’s methodology is flawed because Mr. Devor did not weight

his AMP/AWP spreads based on expenditure volume or transactions. What expenditure volume

or transactions? In the context of the Schering motion for a protective order, Dr. Addanki used

Schering’s national sales and transactional data to weight averages among certain classes of

trade. Such was not required, as explained below, but even if it were the exercise obviously

cannot be engaged in without access to Merck’s sales and transactional data (i.e. data which is

among the very information sought by plaintiffs’ motion).

        Is Merck perhaps suggesting that Mr. Devor should have calculated spreads that

somehow reflected New York Medicaid reimbursement expenditures? Such would make no

sense since Merck’s AMPs and AWPs are national figures and any spread-related weighting

would have to be calculated based on national sales figures.

        Is Merck’s argument that their AMP/AWP spreads differ from state to state depending on

how much a state spent in a particular year or quarter on Merck’s drugs? There is no support for

this proposition anywhere nor would it make any sense given that AMPs and AWPs are national

numbers.

        Regardless, it is prudent to revisit the origins of the 30% discovery screen. For purposes

of limiting discovery, the Court initially determined (and the parties agreed through their joint

presentation of CMO #33) that this 30% screen would be measured by two price points at issue

in the Litigation.




                                               10
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 11 of 14




               2.     (b) [Plaintiffs] shall allege a weighted average, or typical, price for each
               drug calculated on a reasonable good faith basis consistent with ¶5 of this Court’s
               July 30, 2007 order and prior opinions.

                      (c) any NDC for which the percentage difference between the weighted
               average, or typical, wholesale price alleged by plaintiffs and the published
               Average Wholesale Price (“AWP”) for that NDC is 30% or less shall be moved
               from FACC Exhibit B-1 and placed in an amended FACC Exhibit B-2;
               (CMO 33, Sept. 14, 2007 [Docket No. 4745].)


       Then, in the context of the Schering Motion for a Protective Order, the Court agreed with

Schering that manufacturer-determined AMPs also could, for discovery purposes, essentially

serve as the “weighted average or typical price for each drug calculated on a good faith basis”.

And it appears that Merck agrees with this proposition given that, as set forth above, Merck

described AMP as a conservative check on the wholesaler data spreads in plaintiffs’ complaint.

See Merck Opp. at 2.

       In any event, the Court thus ruled that manufacturer-determined AMPs and published

AWPs represented two reasonable and appropriate measures through which spreads sufficient to

trigger discovery obligations could be calculated. It was determined, specifically, that branded

drugs with annual spreads between AMP and published AWPs of greater than 30% would be

subject to discovery so that liability for the claims asserted could be evaluated. “A” hereto.

       Now to this motion and the work of Mr. Devor. Undisputed is that at any given point in

time, on any given day, there was, for the drugs at issue, (a) a published Merck AWP and (b)

some “weighted average or typical price for each drug” (whether it be an AMP or an AAC based

on wholesaler data as in plaintiffs’ Rev. Exhibit B to the FACC). The difference between the

two is the spread. It follows logically that an average of daily spreads can be used to arrive at a

single, average spread for any particular year.




                                                  11
      Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 12 of 14




       Mr. Devor calculated the spread between AMP and published AWP, for at-issue drugs,

on every single day in every year at issue. The average spread over the year is based, therefore,

on 365 inputs for that year – one for each day. The result is, by definition, a weighted and true

average of the spread between AMP and published AWP at any given point in time during that

year, as required. These average spreads are the foundation for Plaintiffs’ motion. No order of

the Court has ever called for any weighting of the spreads themselves based on transaction

volume.

       Defendants’ argument, therefore that, “[f]ailing to consider transaction volume distorts

the comparison between AMP and AWP because the former is a weighted figure and the latter is

not" is entirely self-serving, flawed, and inconsistent with the purpose and requirements of the

Court. The assertion speaks more to estimates of a measure of damages than to what is required

to obtain the discovery needed to determine whether reported and published AWPs were inflated.

At bottom, daily comparison between AMP and the published AWP is the most direct and

appropriate manner in which to isolate the spread between these two numbers, and to isolate the

amount by which reimbursement on each individual claim during a relevant timeframe may have

been inflated. Only on a full record and after analysis of Merck’s sales and transactional data

can Merck’s true prices be determined and compared to the AWPs which Merck published or

caused to be published.

          Merck also criticizes Mr. Devor for cherry-picking time periods. This argument likewise

makes no sense. Mr. Devor has done exactly what the Court required and has presented annual

spreads for all at-issue Merck drugs and NDCs. Plaintiffs seek discovery only on those with

AMP/AWP spreads over 30% on an annual basis, as provided for by the Schering Order and

consistent with CMO #33. Perhaps Merck is sensitive to cherry-picking since that is precisely



                                                12
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 13 of 14




what it did when it had its expert prepare charts for this Court that purposefully omitted drugs on

which the County Medicaid programs spent hundreds of millions of dollars and which, as Merck

concedes, have over 30% spreads entitling plaintiffs to discovery. See Gaier Aff. Figure 3, e.g.

        Merck argues that for the majority of the time, Merck’s AMP to AWP spreads do not

exceed 30%. See Merck Opp. at 16. This is another irrelevant point. Neither CMO #33 nor the

September 2008 order required spreads that exceed 30% the majority of the time. CMO #33 has

no temporal requirement and the September 2008 Order provides for discovery once spreads

exceed 30% for the year. “A” hereto. Plaintiffs only seek compliance with that Order: they seek

production of discovery for the drugs and NDCs for which the AMP/AWP spread exceeds 30%

for the year.

        IV.     The Discovery Deadline is April 2010

        Merck also attempts to distract from the issue at bar with discussions of timing of

plaintiffs’ discovery demands. Plaintiffs remind that the discovery cut off in this case is April

2010 and that plaintiffs’ motion clearly has been filed well within that timeframe. Further, it is

worth noting that the pleading challenges faced by plaintiffs here, by themselves, confirm how

remarkably difficult it is for Medicaid to ascertain defendants’ true prices or proxies for same.

Even now, in the context of litigation and notwithstanding express direction from the Court,

Merck still refuses to provide the information required for a full and fair adjudication of the

claims leveled against it. Respectfully, Merck’s obstructionism simply should not be permitted.

                                        CONCLUSION

        For all the foregoing reasons, plaintiffs’ motion to compel discovery from Merck for the

Drugs and NDCs with annual AMP/AWP spreads greater than 30% should be granted.




                                                13
       Case 1:01-cv-12257-PBS Document 6607 Filed 10/23/09 Page 14 of 14




Dated: October 23, 2009                        Respectfully submitted,

                                               KIRBY McINERNEY, LLP
                                               825 Third Avenue
                                               New York, New York 10022
                                               (212) 371-6600

                                               /s/ Joanne M. Cicala_______________
                                        By:    Joanne M. Cicala
                                               James P. Carroll, Jr.
                                               Kathryn B. Allen
                                               Counsel for The City of New York and New York
                                               Counties in MDL 1456 except Nassau and Orange

                                               Ross B. Brooks, Esq.
                                               MILBERG LLP
                                               One Pennsylvania Plaza
                                               New York, NY 10119
                                               (212) 594-5300
                                               Special Counsel for the County of Nassau

                                               Theresa A. Vitello, Esq.
                                               LEVY PHILLIPS &
                                               KONIGSBERG, LLP
                                               800 Third Avenue
                                               New York, NY 10022
                                               (212) 605-6205
                                               Counsel for the County of Orange


                                  CERTIFICATE OF SERVICE

        I, Kathryn B. Allen, hereby certify that I caused a true and correct copy of the foregoing

Reply Memorandum in Further Support of Plaintiffs’ Motion to Compel Discovery from

Defendant Merck & Co., Inc., to be served on counsel of record via electronic service pursuant to

Paragraph 11 of Case Management Order No. 2, by sending a copy to LexisNexis File & Serve

for posting and notification to all parties.

Dated: October 23, 2009                               /s/ Kathryn B. Allen
                                                      Kathryn B. Allen




                                                 14
